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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                          TAMPA DIVISION

  VIRAL STYLE, LLC,

             Plaintiff,
 v.                                             Case No.

  IRON MAIDEN HOLDINGS LTD.
  and AM SULLIVAN LAW, LLC,

             Defendants.
                                       /

                                EXHIBIT C

                                    TO

                               COMPLAINT
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                             IN THE UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION


IRON MAIDEN HOLDINGS, LTD.,                                   CASE NO.: 1:20-CV-05251

          PLAINTIFF,
                                                              JUDGE THOMAS M. DURKIN
V.

THE PARTNERSHIPS AND UNINCORPORATED                           MAGISTRATE JUDGE SUNIL R. HARJANI
ASSOCIATIONS IDENTIFIED ON SCHEDULE A,

          DEFENDANTS.                                         FILED UNDER SEAL




                 PLAINTIFF’S EX PARTE MOTION FOR ENTRY OF A
      TEMPORARY RESTRAINING ORDER, INCLUDING A TEMPORARY INJUNCTION,
           A TEMPORARY ASSET RESTRAINT, AND EXPEDITED DISCOVERY


            Plaintiff, Iron Maiden Holdings, Ltd. (“Iron Maiden” or “Plaintiff”), seeks entry of an Ex

     Parte Temporary Restraining Order, including a temporary injunction against Defendants enjoining

     the manufacture, importation, distribution, offering for sale, and sale of infringing and counterfeit

     Iron Maiden products, a temporary asset restraint, and expedited discovery in an action arising out of

     15 U.S.C. § 1114; Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a); and the Illinois Uniform

     Deceptive Trade Practices Act, 815 ILCS § 510, et seq. A Memorandum of Law in Support is filed

     concurrently with this Motion.
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       Dated: September 14, 2020                  Respectfully submitted,

                                                  /s/ Ann Marie Sullivan
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                             IN THE UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION



IRON MAIDEN HOLDINGS, LTD.,                                  CASE NO.: 1:20-CV-05251

          PLAINTIFF,
                                                             JUDGE THOMAS M. DURKIN
V.

THE PARTNERSHIPS AND UNINCORPORATED                          MAGISTRATE JUDGE SUNIL R. HARJANI
ASSOCIATIONS IDENTIFIED ON SCHEDULE A,

          DEFENDANTS.                                        FILED UNDER SEAL



       MEMORANDUM IN SUPPORT OF PLAINTIFF’S EX PARTE MOTION FOR ENTRY
          OF A TEMPORARY RESTRAINING ORDER, INCLUDING A TEMPORARY
      INJUNCTION, A TEMPORARY ASSET RESTRAINT, AND EXPEDITED DISCOVERY


           Plaintiff, Iron Maiden Holdings, Ltd. (“Iron Maiden” or “Plaintiff”), submits this

      Memorandum in support of its Ex Parte Motion for Entry of a Temporary Restraining Order,

      including a temporary injunction, a temporary asset restraint, and expedited discovery.
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                                   MEMORANDUM OF LAW

 I.   INTRODUCTION AND SUMMARY OF ARGUMENT

        Plaintiff is requesting temporary ex parte relief based on an action for trademark

 infringement, counterfeiting, false designation of origin, violation of the Illinois Uniform

 Deceptive Trade Practices Act (UDTPA), and copyright infringement, against the defendants

 identified on Schedule “A” to the Complaint (the “Defendants”). As alleged in the Complaint,

 Defendants operate fully interactive, ecommerce Internet stores under the online marketplace

 accounts listed in Schedule “A” (the “Seller Aliases” or “Defendant Internet Stores”), using

 infringing and counterfeit versions of Iron Maiden’s federally registered trademarks and

 copyrights (“Iron Maiden Trademarks” and “Iron Maiden Copyrights”; collectively, “Iron Maiden

 Intellectual Property (IP)”) by offering for sale and/or selling unauthorized, unlicensed, and

 counterfeit products (the “Counterfeit Iron Maiden Products”).

        Defendants conduct a sophisticated counterfeiting operation targeting Illinois residents by

 operating ecommerce stores using one or more Seller Aliases through which Illinois residents can

 purchase Counterfeit Iron Maiden Products. A logical relationship exists between the Defendant

 Internet Stores, established by uniquely shared identifiers, such as design elements and similarities

 of the counterfeit products offered for sale, suggesting that Defendants’ counterfeiting operation

 arises out of the same transaction, occurrence, or series of transactions or occurrences.

        Plaintiff is forced to file this action to combat Defendants’ counterfeiting of its Iron Maiden

 IP, as well as to protect unknowing consumers from purchasing Counterfeit Iron Maiden Products,

 and therefore respectfully requests that this Court issue an ex parte Temporary Restraining Order

 (“TRO”), which would: (1) temporarily restrain Defendants’ continued manufacture, distribution,

 offering for sale, and sale of Counterfeit Iron Maiden Products; (2) temporarily restrain

 Defendants’ assets to preserve Plaintiff’s right to an equitable accounting; and, (3) authorize


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 expedited discovery allowing Plaintiff to inspect Defendants’ records relating to the Counterfeit

 Iron Maiden Products and Defendants’ financial accounts.


 I.   STATEMENT OF FACTS

      A. Plaintiff’s Trademarks and Products

        Founded in 1975, Plaintiff, Iron Maiden Holdings, Ltd., acts as the creator, marketing

 branch, and distributor of Iron Maiden Products internationally. See Declaration of Paul Varley

 (“Varley Decl.”) at ¶¶ 3. Iron Maiden is the official licensor of Iron Maiden Products and provides

 its Intellectual Property assets to its authorized licensees for the development, production,

 distribution, and sale of authorized licensed products. Id. at ¶ 6.

        Iron Maiden is the owner of the federally registered Iron Maiden Trademarks and Iron

 Maiden Copyrights. Id. at ¶ 7. The Iron Maiden Trademarks: are inherently distinctive; identify

 products as merchandise originating from Iron Maiden (the “Iron Maiden Products”); have been

 used exclusively and continuously; have never been abandoned; are valid, subsisting, and in full

 force and effect; are incontestable pursuant to 15 U.S.C. § 1065; and, qualify as famous marks

 under 15 U.S.C. § 1125(c)(1). Id. at ¶¶ 8-10. Iron Maiden has expended substantial time and

 resources developing and promoting the Iron Maiden Trademarks and Copyrights. Id at 11. As a

 result, the Iron Maiden IP is widely recognized, and exclusively associated by consumers and the

 public as being products sourced from Plaintiff. Id. Iron Maiden has ensured that products bearing

 its IP are manufactured to the highest quality standards. Id. As such, the recognition and goodwill

 associated with the brand is of incalculable and inestimable value to Iron Maiden. Id.

      B. Defendants’ Unlawful Activities

        Significant counterfeiting has stemmed from the success of the Iron Maiden brand. Id at ¶

 12. As a result, Iron Maiden implemented an anti-counterfeiting program that investigates



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 suspicious ecommerce activity and online marketplace listings identified through proactive

 Internet sweeps. Id. Iron Maiden encountered numerous Defendant Internet Stores offering for

 sale, selling, and importing Counterfeit Iron Maiden Products in connection with Plaintiff’s Iron

 Maiden IP. Id. Defendants are not authorized by Iron Maiden to use Iron Maiden IP. Id.

 Furthermore, Defendants operate legitimate-looking Internet stores which bear remarkable

 similarities, and utilize nearly-identical evasion techniques to conceal their identities and avoid

 enforcement efforts, which all together establish a logical and interrelated relationship among the

 Defendants. Id. at ¶ 17.

              Defendants Operate Similar Legitimate-Looking Internet Stores.

        The online marketplace accounts and listings of Defendants are designed to facilitate

 counterfeit sales by giving the impression to consumers that they are authorized retailers

 featuring genuine Iron Maiden Products. Id. at ¶ 14. Defendant Internet Stores look sophisticated

 and give the impression of authenticity, by: (1) accepting payment in U.S. dollars, through third-

 party payment processors, including Amazon, PayPal, and Western Union; (2) incorporating

 trustworthy features, such as “live 24/7” customer service; (3) implementing security solutions

 consumers associate with authorized retailers, displaying the logos of McAfee® Security,

 VeriSign®, Visa®, MasterCard®, and PayPal®; and, (4) including authentic images and design

 elements. Id. Other notable common features include the: Counterfeit Iron Maiden Products

 offered; images of product listings; stores’ layout and appearance; listing descriptions; naming

 conventions for store names, listing names, and product titles; metadata; domain redirection

 and domain name registrations; ecommerce platforms; shipping, payment, and check-out

 methods; anonymity; name servers; general absence of identifying or contact information; and

 similarly priced goods. Id at 17.

              Defendants Employ Various Tactics to Conceal Their Identities.


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        Defendants utilize evasive tactics to conceal their identities, including, among other things:

 1) using multiple aliases and addresses to register online marketplace accounts in order to avoid

 detection, while operating a massive network of Internet Stores dealing in counterfeit products; 2)

 using privacy services that conceal their identities and contact information; 3) registering new

 domain names/online marketplace accounts under different aliases, abandoning accounts named

 in lawsuits; 4) transferring hosting of their websites to rogue servers, located outside the U.S.,

 removing themselves from the reach of the Court, frustrating enforcement efforts of IP rights-

 holders; and 5) retaining anonymity by shipping counterfeit products in small quantities via

 international mail without a return address and/or using false information, thereby minimizing

 detection by U.S. Customs and Border Protection. Id at ¶¶ 15-17.

        Furthermore, counterfeiters such as Defendants, frequently operate multiple credit card

 merchant accounts, as well as Amazon and PayPal accounts, hiding behind layers of payment

 gateways, thereby allowing them to persist in their illegal operation without detection, and

 despite Plaintiff’s best enforcement efforts. Id at ¶ 19. Upon information and belief, Defendants

 regularly move funds obtained by their infringement of Plaintiff’s IP, from the accounts

 associated with their online marketplaces – which are held by third-party payment processors –

 to offshore bank accounts, which fall outside the jurisdiction of this Court. Id.

 II.   ARGUMENT

        Defendants’ purposeful and unlawful conduct is causing and will continue to cause

 irreparable harm to Plaintiff’s reputation and the goodwill associated with the Iron Maiden IP.

 Rule 65(b) of the Federal Rules of Civil Procedure provides that the Court may issue an ex parte

 TRO, where immediate and irreparable injury, loss, or damage will result to the applicant before

 the adverse party can be heard in opposition. Fed. R. Civ. P. 65(b). Entry of a TRO is appropriate

 as it would prevent ongoing injury to Plaintiff stemming from Defendants’ wrongful use of the Iron


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 Maiden IP and preserve the status quo until such time as a hearing can be held.

        In the absence of an ex parte TRO, Defendants likely will register new online marketplace

 accounts under new aliases, modify registration data and content, change hosts, redirect traffic to

 other websites in their control, and move any assets from U.S.-based bank accounts to offshore

 bank accounts, outside the jurisdiction of this Court. Varley Decl. at ¶ 19. Courts have recognized

 that civil actions against counterfeiters present special challenges that justify proceeding on an ex

 parte basis. See Columbia Pictures Indus., Inc. v. Jasso, 927 F. Supp. 1075, 1077 (N.D. Ill. 1996)

 (observing that “proceedings against those who deliberately traffic in infringing merchandise are

 often useless if notice is given to the infringers”). As such, Plaintiff respectfully requests that this

 Court issue the requested ex parte temporary restraining order.

        This Court has original subject matter jurisdiction over these claims pursuant to the

 Lanham Act, 15 U.S.C. § 1051, et seq., 28 U.S.C. §§ 1338(a)-(b), and 28 U.S.C. § 1331; and, has

 jurisdiction over the claims in this action that arise under the laws of the State of Illinois pursuant

 to 28 U.S.C. § 1367(a). Venue is proper under 28 U.S.C. § 1391. This Court may also properly

 exercise personal jurisdiction over Defendants since they directly target business activities toward

 consumers in this Judicial District by operating Internet Stores, which directly offer for sale, and

 provide a platform through which Illinois residents can purchase, Counterfeit Iron Maiden

 Products. See Complaint at ¶¶ 7, 18, and 19. See, e.g., Christian Dior Couture, S.A. v. Lei Liu et

 al., 2015 U.S. Dist. LEXIS 158225, at *6 (N.D. Ill. Nov. 17, 2015) (personal jurisdiction proper

 over defendants offering to sell alleged infringing product to United States residents, including

 Illinois; no actual sale required). Each Defendant is committing tortious acts, engaging in interstate

 commerce, and has wrongfully caused Iron Maiden substantial injury in the State of Illinois.

      A. Standard for Temporary Restraining Order and Preliminary Injunction

        District Courts within this Circuit hold that the standard for granting a TRO and the


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 standard for granting a preliminary injunction are identical. See, e.g. Charter Nat’l Bank & Trust

 v. Charter One Fin., Inc., No. 1:01-cv-00905, 2001 WL 527404, *1 (N.D. Ill. May 15, 2001)

 (citation omitted). A party seeking to obtain a preliminary injunction must demonstrate: (1) that its

 case has some likelihood of success on the merits; (2) that no adequate remedy at law exists; and,

 (3) that it will suffer irreparable harm if the injunction is not granted. See Ty, Inc. v. The Jones

 Group, Inc., 237 F.3d 891, 895 (7th Cir. 2001).

         If the Court is satisfied that these conditions have been met, it must consider the harm the

 nonmoving party will suffer if preliminary relief is granted, balancing such harm against the

 irreparable harm the moving party will suffer if relief is denied. Id. Finally, the Court must consider

 the potential effect on the public interest in denying or granting the injunction. Id. The Court then

 weighs all of these factors, “sitting as would a chancellor in equity,” when deciding whether to grant

 the injunction. Id. This process involves engaging in what the Court has deemed “the sliding scale

 approach” – the more likely the plaintiff will succeed on the merits, the less the balance of harms

 need favor the plaintiff's position. Id.

      B. Plaintiff Will Likely Succeed on the Merits

             Plaintiff Will Likely Succeed on Its Trademark Infringement & Counterfeiting Claim

         A defendant is liable for trademark infringement and counterfeiting under the Lanham Act

 if it, “without the consent of the registrant, use[s] in commerce any reproduction, copy, or colorable

 imitation of a registered mark in connection with the sale, offering for sale, distribution, or

 advertising of any goods…which such use is likely to cause confusion, or to cause mistake, or to

 deceive.” 15 U.S.C. § 1114(1). As such, a Lanham Act trademark infringement claim has three

 elements: (1) its mark is distinctive enough to be worthy of protection; (2) defendants are not

 authorized to use the trademark; and (3) a likelihood of confusion exists as to the origin or

 sponsorship of defendants’ products. . See 15 U.S.C. § 1125(a); Neopost Industrie B.V. v. PFE


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 Int’l Inc., 403 F. Supp. 2d 669, 684 (N.D. Ill. 2005) (citation omitted).

        Iron Maiden’s Iron Maiden Trademark registrations are: inherently distinctive; registered

 with the United States Patent and Trademark Office on the Principal Register; continuously used;

 never abandoned; valid, subsisting, and in full force and effect; and, often incontestable pursuant

 to 15 U.S.C. § 1065. Varley Decl. at ¶¶ 7-10. As such, the registrations constitute prima facie

 evidence of their validity and of Iron Maiden’s exclusive right to use the marks pursuant to 15

 U.S.C. § 1057(b). Furthermore, Iron Maiden has not authorized Defendants to use any of the Iron

 Maiden Trademarks, nor have they authorized them as licensors or resellers of Iron Maiden brand

 products. Id. at ¶ 14. Thus, Plaintiff satisfies the first and second elements of its Lanham Act claim.

        Plaintiff satisfies the third element of its Lanham Act claim in two ways: under the Seventh

 Circuit’s seven-factor likelihood of confusion test; and/or through the presumption of confusion

 inherent in the manufacture and distribution of counterfeit products. The Seventh Circuit’s seven

 enumerated factors include: (1) similarity between the marks in appearance and suggestion; (2)

 similarity of the products; (3) area and manner of concurrent use; (4) degree of care likely to be

 exercised by consumers; (5) strength of complainant’s mark; (6) actual confusion; and, (7) intent

 of the defendants to palm off their products as that of another. AutoZone, Inc. v. Strick, 543 F.3d

 923, 929 (7th Cir. 2008). No one factor is dispositive, but the similarity of the marks, actual

 confusion, and the defendant’s intent are “particularly important.” Id.

        All seven factors weigh heavily in Iron Maiden’s favor. First, Defendants use of Plaintiff’s

 trademarks is identical in appearance, and done so in a manner, which suggests to the consumer,

 that the source or origin of the Counterfeit Iron Maiden Products is Iron Maiden. Second,

 Defendants’ Counterfeit Iron Maiden Products are intentionally designed to look identical or

 similar to genuine Iron Maiden brand products. Varley Decl. at ¶¶ 13-14. Third, both Plaintiff and

 Defendants advertise and sell their products via the Internet in the same area and identical manner.


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 Fourth, potential consumers purchasing Iron Maiden Products are diverse, with varying degrees of

 sophistication, likely to have difficulty distinguishing genuine Iron Maiden brand products from

 Counterfeit Iron Maiden Products. Fifth, the Iron Maiden Trademarks have become famous,

 distinctive, and internationally recognizable; they signify to consumers that the Iron Maiden brand

 products come from Plaintiff and are manufactured to the highest quality standards. Finally,

 evidence of actual consumer confusion is not required to prove that a likelihood of confusion

 exists, particularly given the compelling evidence that Defendants are attempting to “palm off”

 their goods as genuine Iron Maiden Products. CAE, Inc. v. Clean Air Eng’g, Inc., 267 F.3d 660,

 685 (7th Cir. 2001); see also Sands, Taylor & Wood Co. v. Quaker Oats Co., 978 F.2d 947, 960

 (7th Cir. 1992) (the Seventh Circuit has consistently found that “plaintiff need not show actual

 confusion in order to establish likelihood of confusion.”).

        While the seven-factor likelihood of confusion test has been proven in Plaintiff’s favor,

 Plaintiff can further establish that a likelihood of confusion exists through an additional

 independently sufficient basis – the presumption of confusion inherent in Defendants’

 counterfeiting operation. The Seventh Circuit has held that where “one produces counterfeit

 goods in an apparent attempt to capitalize upon the popularity of, and demand for, another’s

 product, there is a presumption of a likelihood of confusion.” Microsoft Corp. v. Rechanik, 249

 F. App’x 476, 479 (7th Cir. 2007). Accordingly, here, the Court can presume a likelihood of

 confusion from Defendants’ use of the Iron Maiden Trademarks.

               Plaintiff Will Likely Succeed on Its False Designation of Origin Claim and Illinois
               Uniform Deceptive Trade Practices Act Claim.

        A plaintiff bringing a false designation of origin claim under 15 U.S.C. § 1125(a) must

 show: (1) plaintiff has a protectable trademark; and (2) a likelihood of confusion will exist as to the

 origin of plaintiff’s products. All Star Championship Racing, Inc. v. O’Reilly Auto. Stores, Inc.,



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 2013 WL 1701871, *10 (C.D. Ill. Apr. 18, 2013) (citing Johnny Blastoff, Inc. v. Los Angeles Rams

 Football Co., 188 F. 3d 427, 436 (7th Cir. 1999)), which is similar to the Lanham Act test.

 Furthermore, in Illinois, courts resolve unfair competition and deceptive trade practices claims,

 “according to the principles set forth under the Lanham Act.” Spex, Inc. v. Joy of Spex, Inc., 847

 F. Supp. 567, 579 (N.D. Ill. 1994). Since Plaintiff has established a likelihood of success on the

 merits for its trademark infringement claim against Defendants (see supra), a likelihood of success

 on the merits for Plaintiff’s false designation of origin and IUDTP claims are also established.

               Plaintiff Will Likely Succeed on Its Copyright Infringement Claim.

        To establish copyright infringement under 17 U.S.C. § 501, a plaintiff must prove two

 elements: (1) ownership of a valid copyright, and (2) copying of constituent elements of the work

 that are original. JCW Investments, Inc. v. Novelty, Inc., 482 F.3d 910, 914 (7th Cir. 2007).

 Moreover, copyright protection extends to “derivative works,” or “work[s] based upon one or

 more preexisting works, such as a translation, musical arrangement, dramatization, fictionalization

 . . ., or any other form in which a work may be recast, transformed, or adapted.” 17 U.S.C. § 101.

        Here, Plaintiff is the owner of the Iron Maiden Copyrights. Varley Decl. at ¶ 7. The

 Counterfeit Iron Maiden Products are identical, feature components of, and/or are derived from

 the creative content found in the protected Iron Maiden Copyrights. As such, the infringement is

 clear on its face and establishes that Plaintiffs are likely to succeed on the merits.

      C. There Is No Adequate Remedy At Law, and Plaintiff Will Suffer Irreparable
         Harm in the Absence of Preliminary Relief

        The Seventh Circuit has “clearly and repeatedly held that damage to a trademark holder’s

 goodwill can constitute irreparable injury for which the trademark owner has no adequate legal

 remedy.” Re/Max N. Cent., Inc. v. Cook, 272 F.3d 424, 432 (7th Cir. 2001) (citing Eli Lilly & Co.

 Natural Answers, Inc., 233 F.3d 456, 469 (7th Cir. 2000)). Irreparable injury “almost inevitably



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 follows” when there is a high probability of confusion because such injury “may not be fully

 compensable in damages.” Helene Curtis Industries, Inc. v. Church & Dwight Co., Inc., 560 F.2d

 1325, 1332 (7th Cir. 1977) (citation omitted). “The most corrosive and irreparable harm

 attributable to trademark infringement is the inability of the victim to control the nature and quality

 of the defendants’ goods.” Int’l Kennel Club of Chicago, Inc. v. Mighty Star, Inc., 846 F.2d 1079,

 1092 (7th Cir. 1988). As such, monetary damages are likely to be inadequate compensation for such

 harm. Ideal Indus., Inc. v. Gardner Bender, Inc., 612 F.2d 1018, 1026 (7th Cir. 1979).

        Defendants’ unauthorized use of the Iron Maiden Trademarks has and continues to

 irreparably harm Plaintiff through diminished goodwill and brand confidence, damage to

 Plaintiff’s reputation, loss of exclusivity, and loss of future sales. Varley Decl. at ¶¶ 20-24. The

 extent of such harm, and the possible diversion of customers due to loss in brand confidence, are

 both irreparable and incalculable, thus warranting an immediate halt to Defendants’ infringing

 activities through injunctive relief. See Promatek Industries, Ltd. v. Equitrac Corp., 300 F.3d 808,

 813 (7th Cir. 2002) (Finding that damage to plaintiff’s goodwill was irreparable harm for which

 plaintiff had no adequate remedy at law). Furthermore, Defendants’ intentional copyright

 infringements deprive Plaintiff of the ability to control the creative content protected by the

 copyrights; devalues the Iron Maiden brand by associating it with inferior quality goods; and,

 undermines the value of the copyrights by creating the impression that infringement may be

 undertaken with impunity thereby threatening Plaintiff’s ability to develop further licensees and

 maintain existing licensee relationships. Id. These are recognized irreparable harms for which

 monetary compensation is inadequate. See MGM Studios, Inc. v. Grokster, Ltd., 518 F. Supp.

 2d 1197, 1219 (C.D. Cal. 2007) (“In sum, Plaintiffs have offered two independently sufficient

 grounds for a finding of irreparable harm. Plaintiffs will suffer irreparable harm because of

 [Defendant’s] likely inability to pay for the past and/or future infringements that it has induced.


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 Additionally, [Defendant’s] inducement has and will continue to irreparably harm Plaintiff’s ability

 to enforce its exclusive rights.”); Warner Bros. Entm’t, Inc. v. WTV Sys., 824 F. Supp. 2d 1003,

 1013-14 (C.D. Cal. 2011) (recognizing that the perception of the ability to infringe copyright

 protected work undermines the ability to develop and conduct business).

         Accordingly, Plaintiff has satisfied the Seventh Court’s standard for granting preliminary

 relief by establishing that there is no adequate remedy at law and that Plaintiff will continue to suffer

 irreparable harm in the absence of such relief.

      D. The Balancing of Harms Tips in Plaintiff’s Favor

         Plaintiff has demonstrated (1) a likelihood of success on the merits, (2) no adequate remedy

 at law, and (3) the threat of irreparable harm if preliminary relief is not granted. The Court must

 next consider the potential harm that Defendants could suffer if preliminary relief is granted,

 balancing such harm against the irreparable harm Plaintiff will suffer if relief is denied. Ty, Inc.,

 237 F.3d at 895. As willful infringers, Defendants are entitled to little equitable consideration.

 “When considering the balance of hardships between the parties in infringement cases, courts

 generally favor the trademark owner.” Krause Int’l Inc. v. Reed Elsevier, Inc., 866 F. Supp. 585,

 587-88 (D.D.C. 1994). This is because “[o]ne who adopts the marks of another for similar goods

 acts at his own peril since he has no claim to the profits or advantages thereby derived.” Burger

 King Corp. v. Majeed, 805 F. Supp. 994, 1006 (S.D. Fla. 1992) (internal quotation marks omitted).

 Therefore, the balancing of harms “cannot favor a defendant whose injury results from the knowing

 infringement of the plaintiff’s trademark.” Malarkey-Taylor Assocs., Inc. v. Cellular

 Telecomms.Indus. Ass’n., 929 F. Supp. 473, 478 (D.D.C. 1996).

         Defendants are knowingly using Iron Maiden’s protected Iron Maiden IP, in order to profit

 from sales of Counterfeit Iron Maiden Products. Thus, the balance of equities tips decisively in

 Plaintiff’s favor. As such, equity requires Defendants be ordered to cease their unlawful conduct.


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 III. THE EQUITABLE RELIEF SOUGHT IS APPROPRIATE

        In addition to this Court’s inherent authority to issue injunctive relief, the Lanham Act

 authorizes courts to issue injunctive relief “according to the principles of equity and upon such

 terms as the court may deem reasonable, to prevent the violation of any right of the registrant of a

 mark ….” 15 U.S.C. § 1116(a). Furthermore, Rule 65(b) of the Federal Rules of Civil Procedure

 provides that a court may issue a temporary restraining order without notice where facts show that

 the movant will suffer immediate and irreparable injury, loss, or damage before the adverse party

 can be heard in opposition. The facts in this case warrant such relief.

      A. Temporary Restraining Order Immediately Enjoining Defendants’ Unauthorized
         and Unlawful Use of Plaintiff’s Trademarks Is Appropriate

        Plaintiff requests a temporary injunction requiring Defendants to immediately cease all use

 of the Iron Maiden Trademarks and Copyrights, and/or substantially similar marks, on or in

 connection with all Defendant Internet Stores. Such relief is necessary to stop the ongoing harm

 to the Iron Maiden Intellectual Property and associated goodwill, as well as the ongoing harm to

 consumers, and to prevent the Defendants from continuing to benefit from their unauthorized use

 of the Iron Maiden IP. The need for ex parte relief is magnified in today’s global economy, where

 counterfeiters can easily and anonymously operate over the Internet. Plaintiff is currently unaware

 of the true identities and locations of Defendants, as well as other ecommerce Internet Stores used

 to distribute infringing and Counterfeit Iron Maiden Products. Many courts have authorized

 immediate injunctive relief in similar cases involving unauthorized use of trademarks and

 counterfeiting. See, e.g. Wham-O Holding, Ltd. and InterSport Corp. d/b/a WHAM-O v. The

 Partnerships and Unincorporated Associations Identified on Schedule “A”, No. 18-cv-05878

 (N.D. Ill. Sep. 18, 2018) and Polyblank Designs Limited v. The Partnerships and Unincorporated

 Associations Identified on Schedule “A”, Case No. 18-cv-5846 (N.D. Ill. Aug. 30, 2018).



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      B. Preventing the Fraudulent Transfer of Assets Is Appropriate

         Plaintiff requests an ex parte restraint of Defendants’ assets so that Plaintiff’s right to an

 equitable accounting of Defendants’ profits from sales of Counterfeit Iron Maiden Products is not

 impaired.1 Issuing an ex parte restraint will ensure Defendants’ compliance. If such a restraint is

 not granted in this case, Defendants may disregard their responsibilities and fraudulently transfer

 financial assets to overseas accounts before a restraint is ordered. Specifically, upon information

 and belief, the Defendants in this case hold most of their assets in offshore accounts, making it

 easy to hide or dispose of assets, which will render an accounting by Plaintiff meaningless.

         Courts have the inherent authority to issue a prejudgment asset restraint when plaintiff’s

 complaint seeks relief in equity. Animale Grp. Inc. v. Sunny’s Perfume Inc., 256 F. App’x 707,

 709 (5th Cir. 2007). In addition, Plaintiff has shown a strong likelihood of succeeding on the merits

 of its trademark infringement and counterfeiting claim; therefore, Plaintiff is entitled, “subject to

 the principles of equity, to recover ... defendant’s profits.” 15 U.S.C. § 1117(a)(1). Plaintiff’s

 Complaint seeks, among other relief, that Defendants account for and pay to Plaintiff all profits

 realized by reason of Defendants’ unlawful acts. Therefore, this Court has the inherent equitable

 authority to grant Plaintiff’s request for a prejudgment asset freeze to preserve the relief sought.

         The Northern District of Illinois, in Lorillard Tobacco Co. v. Montrose Wholesale Candies,

 entered an asset restraining order in a trademark infringement case brought by a tobacco company

 against owners of a store selling counterfeit cigarettes. Lorillard Tobacco Co. v. Montrose

 Wholesale Candies, 2005 WL 3115892, at *13 (N.D. Ill. Nov. 8, 2005). The Court recognized that

 it was explicitly allowed to issue a restraint on assets for lawsuits seeking equitable relief. Id.

 (citing Grupo Mexicano, de Desarollo, S.A. v. Aliance Bond Fund, 527 U.S. 308, 325 (1999)). As



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  Plaintiff, Iron Maiden Holdings, Ltd., has concurrently filed a Motion for Leave to File Under Seal certain
 documents for this same reason.

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 the tobacco company sought a disgorgement of the storeowner’s profits, an equitable remedy, the

 Court found that it had the authority to freeze the storeowner’s assets. Id.

        Plaintiff has shown a likelihood of success on the merits, an immediate and irreparable

 harm suffered as a result of Defendants’ activities, and that, unless Defendants’ assets are frozen,

 Defendants will likely hide or move their ill-gotten funds to offshore bank accounts. Accordingly,

 an asset restraint preventing the fraudulent transfer of assets is appropriate and proper.

      C. Plaintiff Is Entitled to Expedited Discovery

        The United States Supreme Court has held that “federal courts have the power to order, at

 their discretion, the discovery of facts necessary to ascertain their competency to entertain the

 merits.” Vance v. Rumsfeld, No. 1:06-cv-06964, 2007 WL 4557812, *6 (N.D. Ill. Dec. 21, 2007)

 (quoting Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351, 98 S. Ct. 2380 (1978)).

 Furthermore, courts have broad power over discovery and may permit discovery in order to aid in

 the identification of unknown defendants. See Fed. R. Civ. P. 26(b)(2); Gillespie v. Civiletti, 629

 F.2d 637, 642 (9th Cir. 1980). Additionally, under Federal Rule of Civil Procedure 65(d)(2)(C),

 this Court has the power to order any third-party, in active concert with the Defendants, to provide

 expedited discovery in an action once notice of the order is given. Fed. R. Civ. P. 65(d)(2)(C).

        Plaintiff respectfully requests expedited discovery, specifically of third-party payment

 processors, to discover the bank and payment system accounts Defendants use for their counterfeit

 operations. The request in Plaintiff’s Proposed TRO is limited to include only what is essential to

 prevent further irreparable harm. Without this information, an asset restraint would have little

 value as Plaintiff would not know the entities upon whom to serve the Order. Discovery of these

 accounts, so they can be frozen, is necessary to ensure Defendants’ activities are contained. See,

 e.g., Decks Outdoor Corporation v. The Partnerships, et al., No. 15-cv-3249 (N.D. Ill. April 4,

 2015) (unpublished). Accordingly, Plaintiff respectfully requests expedited discovery be granted.


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 IV. A BOND SHOULD SECURE THE INJUNCTIVE RELIEF

        The posting of security upon issuance of a TRO or preliminary injunction is vested in the

 Court’s sound discretion. Rathmann Grp. v. Tanenbaum, 889 F.2d 787, 789 (8th Cir. 1989); Fed.

 R. Civ. P. 65(c). Because of the strong and unequivocal nature of Plaintiff’s evidence of

 counterfeiting, infringement, and unfair competition, Plaintiff respectfully requests that this Court

 require Plaintiff to post a bond of no more than Ten Thousand U.S. Dollars ($10,000.00). See, e.g.,

 Monster Energy Co. v. Chen Wensheng, 136 F. Supp. 3d 897, 910-11 (N.D. Ill. 2015).


 V.   CONCLUSION

        Defendants’ counterfeiting operations are significantly injuring and irreparably harming

 Iron Maiden’s business, its Iron Maiden brand, consumers, and the general public. Without entry

 of the requested relief, Defendants’ infringement and deceptive use of Plaintiff’s Iron Maiden

 Intellectual Property will continue to lead prospective consumers and the public to believe that

 Defendants’ Counterfeit Iron Maiden Products have been manufactured by or emanate from Iron

 Maiden, when in fact, they have not. In view of the foregoing, and consistent with previous similar

 cases, Plaintiff respectfully requests that this Court enter a Temporary Restraining Order in the

 form submitted herewith, and set a status hearing before its expiration, at which hearing Plaintiff

 intends to present a motion for preliminary injunction.

        DATED: September 14, 2020                              Respectfully submitted,

                                                               /s/ Ann Marie Sullivan
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